                                                         SO ORDERED.


                                                         Dated: December 7, 2020
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   3                                                     ______________________________________
                                                         Madeleine C. Wanslee, Bankruptcy Judge

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   6                          UNITED STATES BANKRUPTCY COURT

   7                                   DISTRICT OF ARIZONA

   8   In re:                                    Chapter 7

   9   PHONG THANH DO,                           Case No. 2:20-bk-05009-MCW

  10                  Debtor.                    Adv. No. 2:20-ap-00229-MCW

  11   PEGASUS CONSTRUCTION, INC.,
  12                  Plaintiff,
                                                 DEFAULT JUDGMENT
  13   vs.
  14   HOA THI-TUYET LE and PHONG
       THANH DO,
  15
                      Defendants.
  16
  17            This matter comes before the Court with respect to the Complaint filed by
  18   Pegasus Construction, Inc. (“Plaintiff”) against Hoa Thi-Tuyet Le and Phong Thanh Do
  19   (“Defendants”) for claims of nondischargeability under 11 U.S.C. §§ 523(a)(2), (a)(4),
  20   (a)(6), and 524(a)(3). Default was entered against the Defendants on October 20, 2020
  21   [ECF No. 14]. Based upon the Defendants’ failure to respond to the complaint filed in
  22   this adversary proceeding and upon the Plaintiff’s Application for Default Judgment, the
  23   Court hereby enters this Judgment in favor of Plaintiff and against Defendants.
  24            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND
  25   DECREED as follows:
  26   ///
       {00260576}
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   1             1.   This Court has jurisdiction over the subject matter hereof and the parties

   2   hereto.

   3             2.   Plaintiff is awarded its reasonable costs of $350.

   4             3.   The debt owed by Defendants to the Plaintiff of $923,652 together with

   5   the costs awarded above (together, “Claim”) is excepted from discharge pursuant to 11

   6   U.S.C. §§ 523(a)(2), (a)(4), and (a)(5).

   7             4.   The Defendants’ marital community shall not receive a discharge from the

   8   Claim pursuant to 11 U.S.C. § 524(a)(3).

   9             5.   Interest shall accrue on the Claim at the relevant federal judgment interest

  10   rate from the date herein.

  11             6.   Entry of this Judgment resolves the claims in the Complaint.

  12                                DATED AND SIGNED ABOVE

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